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In the United States Court of Federal Claims
                              OFFICE OF SPECIAL MASTERS

*************************
SCOTT A. HOERTH,             *
                             *                       No. 19-1016V
                 Petitioner, *                       Special Master Christian J. Moran
                             *
v.                           *
                             *                       Filed: September 1, 2020
SECRETARY OF HEALTH          *
AND HUMAN SERVICES,          *
                             *
                 Respondent. *
*************************

                         ORDER CONCLUDING PROCEEDINGS1

        On August 20, 2020, petitioner moved for voluntary dismissal under Vaccine Rule 21(a).
Because petitioner did not submit a stipulation of dismissal signed by all parties, it appears that
petitioner is seeking voluntary dismissal “at any time before service of respondent’s report,” as
permitted by Vaccine Rule 21(a)(1)(A). Since respondent has not yet filed his Rule 4 report,
petitioner is able to request voluntary dismissal on this basis.

       Accordingly, pursuant to Vaccine Rule 21(a), the above-captioned case is hereby
dismissed without prejudice. The Clerk of the Court is hereby instructed that a judgment shall
not enter in the instant case pursuant to Vaccine Rule 21(a).

       IT IS SO ORDERED.


                                                     s/ Christian J. Moran
                                                     Christian J. Moran
                                                     Special Master




1
  The E-Government Act, 44 U.S.C. § 3501 note (2012) (Federal Management and Promotion of
Electronic Government Services), requires that the Court post this decision on its website.
Pursuant to Vaccine Rule 18(b), the parties have 14 days to file a motion proposing redaction of
medical information or other information described in 42 U.S.C. § 300aa-12(d)(4). Any
redactions ordered by the special master will appear in the document posted on the website.
